842 F.2d 1290Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Eli Florist EASTERLING, Petitioner-Appellant,v.STATE OF NORTH CAROLINA;  Attorney General of the State ofNorth Carolina, Respondents-Appellees.
    No. 87-6629.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 28, 1988.Decided March 10, 1988.
    
      Eli Florist Easterling, appellant pro se.
      Barry Steven McNeill, Office of Attorney General, for appellees.
      Before WIDENER, ERVIN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the magistrate's recommendation discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Easterling v. North Carolina, CA-86-952-C-G (M.D.N.C. Aug. 25, 1987).
    
    